        Case 2:13-cr-00355-GMN-CWH              Document 326        Filed 09/14/17    Page 1 of 5




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 4   Telephone (702) 405-0505
     Facsimile (866) 215-8145
 5   Phil@Thelasvegasdefender.com
 6   Attorney for Defendant Christine Gagnon

 7
                                   UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
                                                    ***
10
                                                     )
11   UNITED STATES OF AMERICA                        )
                                                     )
12                   Plaintiff,                      )
             vs.                                     )
13                                                   )
                                                     )     CASE NO.: 2:13-CR-00355
14   CHRISTINE GAGNON. et al.,
                                                     )
                                                     )
15                   Defendants.                     )        STIPULATION TO CONTINUE
                                                     )          SENTENCING HEARING
16                                                   )
                                                     )                (Ninth Request)
17
                                                     )
18
19          IT IS HEREBY STIPULATED AND AGREED, by and between Steven W. Myhre,

20   Acting United States Attorney, by and through Daniel J. Cowhig, Assistant United States
21   Attorney, counsel for the United States of America, and Phil Brown, Esq., counsel for
22
     Defendant CHRISTINE GAGNON, that the sentencing hearing scheduled for September 15,
23
     2017 at 9:00 a.m., be continued to a date at the convenience of the Court but in any event no
24
25   less than sixty (60) days from the currently scheduled date.

26          This Stipulation is entered into for the following reasons:
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        Case 2:13-cr-00355-GMN-CWH            Document 326         Filed 09/14/17       Page 2 of 5




 1         1)     Defendant Christine Gagnon entered into a plea agreement with the United
 2                   States Attorney’s Office that contemplated cooperation in the prosecution of
 3
                     the co-defendants;
 4
           2)     Since the setting of the upcoming sentencing date, some issues regarding the
 5
 6                   paperwork and other factors have caused the defense to need additional time

 7                   to properly prepare an accurate sentencing memorandum;
 8
           3)     The defendant is out of custody and agrees to the continuance of the sentencing
 9
                     hearing;
10
           4)     Additionally, denial of this request for continuance could result in a miscarriage
11
12                   of justice;

13         5)     This is the ninth request for a continuance of the sentencing hearing;
14
           6)     It is agreed that this request to continue is sought in good faith and not for the
15
                     purposes of delay.
16
17         DATED this 12th day of September, 2017.

18
19                                                        STEVEN W. MYHRE
                                                          Acting United States Attorney
20
21   /s/Philip H. Brown                                   ____/s/ Daniel J. Cowhig________
22   PHILIP H. BROWN, ESQ.                                DANIEL J. COWHIG
     200 Hoover Ave, Suite #130                           Assistant United States Attorney
23   Las Vegas, Nevada 89101
     Attorney for the Defendant
24   Christine Gagnon
25
26
27
28

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        Case 2:13-cr-00355-GMN-CWH               Document 326        Filed 09/14/17     Page 3 of 5




 1
 2                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
 3
                                                     ***
 4
                                                      )
 5   UNITED STATES OF AMERICA                         )
                                                      )
 6                      Plaintiff,                    ) CASE NO.: 2:13-CR-00355
             vs.                                      )
 7                                                    )
     CHRISTINE GAGNON, et. al.,                       ) FINDINGS OF FACT, CONCLUSIONS
 8                                                    ) OF LAW AND ORDER
                                                      )
 9                                                    )
                        Defendants.
10                                                    )
                                                      )
11                                                    )

12                                           FINDINGS OF FACT

13          Based upon the pending stipulation of counsel, and good cause appearing therefore, the

14   Court hereby finds:

15          1. Christine Gagnon’s sentencing is currently set for September 15, 2017;

16          2. Defendant Christine Gagnon entered into a plea agreement with the United States
17
                   Attorney’s Office that contemplated cooperation in the prosecution of the co-
18
                   defendants;
19
            3. Since the setting of the upcoming sentencing date, some issues regarding the
20
21                 paperwork and other factors have caused the defense to need additional time to

22                 properly prepare an accurate sentencing memorandum;
23
            4. The defendant is out of custody and agrees to the continuance of the sentencing
24
                   hearing;
25
26          5. Additionally, denial of this request for continuance would likely result in a

27                 miscarriage of justice;
28          6. This is the ninth request for a continuance of the sentencing hearing;

                                                      -3-
        Case 2:13-cr-00355-GMN-CWH               Document 326        Filed 09/14/17      Page 4 of 5




 1          7. It is agreed that this request to continue is sought in good faith and not for the
 2              purposes of delay.
 3
            8. All parties being in agreement and the best interest of justice being served:
 4
                                        CONCLUSIONS OF LAW
 5
            Based upon the fact that new issues have arisen with regard to the paperwork and other
 6
     factors and that, due to those issues, Defendant Christine Gagnon needs additional time to
 7
     prepare an accurate sentencing memorandum, and based upon the fact that counsel to the parties
 8
     do not object to the continuance, and based on the fact that the denial of this request for
 9
     continuance would likely result in a miscarriage of justice, the Court hereby concludes:
10
            1. The ends of justice are served by granting said continuance since the failure to grant
11
                said continuance would likely result in a miscarriage of justice.
12
                                                   ORDER
13
            IT IS THEREFORE ORDERED that the sentencing currently scheduled for September
14
                                                         Friday, November 17, 2017
     15, 2017 at 9:00 a.m., be vacated and continued to ___________________________________
15
                     11:00 a.m. in Courtroom ____.
     at the hour of _________                 7C
16
17
                           13th day of _______________________,
            DATED this the ____            September               17
                                                                20____.
18
19
20
21                                                 ________________________________________
                                                   UNITED STATES DISTRICT JUDGE
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        Case 2:13-cr-00355-GMN-CWH              Document 326       Filed 09/14/17      Page 5 of 5




 1                                    CERTIFICATE OF SERVICE
 2
 3          The undersigned hereby certifies that she is an employee of Brown Law Offices,

 4   Chartered, and is a person of such age and discretion as to be competent to serve papers.
 5   That on 12th day of September 2017, she served an electronic copy of the above and foregoing
 6
     STIPULATION TO CONTINUE SENTENCING HEARING (Ninth Request) by electronic
 7
     service (ECF) to the person named below:
 8
 9
10                  STEVEN W. MYHRE
                    Acting United States Attorney
11
12                  DANIEL J. COWHIG
                    Assistant United States Attorney
13                  333 Las Vegas Blvd. So., 5th Floor
                    Las Vegas, NV 89101
14
15
16
17                                                        /s/ Mary D. Brown
                                                          _________________________________
18                                                        Employee of Brown Law Offices, Chartered
19
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